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 1    ROBERT E. ATKINSON, TRUSTEE
      376 East Warm Springs Rd. Suite 130
 2    Las Vegas, NV 89119
 3
      Telephone: (702) 614-0600
      Chapter 7 Bankruptcy Trustee
 4
                            UNITED STATES BANKRUPTCY COURT
 5                                 DISTRICT OF NEVADA
 6    In re:                                            Case No.: 21-14486-ABL
                                                        Chapter 7
 7
      INFINITY CAPITAL MANAGEMENT
 8    INC                                               NOTICE OF ASSETS AND
                                                        NOTICE TO FILE CLAIMS
 9                           Debtor(s).
10    NOTICE IS HEREBY GIVEN, pursuant to Bankruptcy Rule 3002(c)(5), that the Trustee
11
      has found assets in this bankruptcy estate from which a payment of a dividend appears
      possible. Any creditor holding a claim against the above-entitled estate may file a proof of
12    claim at the following address:

13             Bankruptcy Court Clerk
               300 Las Vegas Boulevard South, 4th Floor
14             Las Vegas NV 89101
15
      or by using the Nevada Bankruptcy Court’s online claim filing system located at:
16
               https://ecf.nvb.uscourts.gov/cgi-bin/autoFilingClaims.pl
17
      NOTICE IS FURTHER GIVEN that to be considered for a dividend in accordance with
18
      Rule 3002 and 3009, a proof of claim must be filed by: January 10, 2022.
19
      CLAIMS NOT FILED BY THE BAR DATE ARE GENERALLY NOT ALLOWED.
20
      NOTICE IS FURTHER GIVEN that, pursuant to Local Bankruptcy Rule 2002, after the
21    expiration of the claims bar date in a Chapter 7 case, all notices required by Fed R. Bank P.
      2002(a) may be mailed only to creditors whose claims have been filed with the Clerk of the
22
      Court and to creditors, if any, who are permitted to file claims by reason of an extension
23    granted under Fed. R. Bank. P. 3002(c).

24    DATED: 10/6/2021                                         /s/ Robert E. Atkinson
                                                        Robert E. Atkinson, Chapter 7 Trustee
25

26
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    Fill in this information to identify the case:



    Debtor 1


    Debtor 2
    (Spouse, if filing)

    United States Bankruptcy Court for the:               District of Nevada
                                                   __________ District of __________
    Case number




   Official Form 410
   Proof of Claim                                                                                                                                                                04/19

   Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make a request
   for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
  Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents that
  support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security
  agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.
   A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

   Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



   Part 1:         Identify the Claim

 1. Who is the current
    creditor?
                                       Name of the current creditor (the person or entity to be paid for this claim)

                                       Other names the creditor used with the debtor

 2. Has this claim been
    acquired from someone
                                             No
    else?                                    Yes.    From whom?


 3. Where should notices               Where should notices to the creditor be sent?                                      Where should payments to the creditor be sent? (if
    and payments to the                                                                                                   different)
    creditor be sent?
     Federal Rule of                   Name                                                                               Name
     Bankruptcy Procedure
     (FRBP) 2002(g)
                                       Number             Street                                                          Number          Street


                                       City                                  State                     ZIP Code           City                             State                 ZIP Code

                                       Contact phone                                                                      Contact phone

                                       Contact email                                                                      Contact email



                                       Uniform claim identifier for electronic payments in chapter 13 (if you use one):




 4. Does this claim amend                    No
    one already filed?
                                             Yes.    Claim number on court claims registry (if known)                                                Filed on
                                                                                                                                                                   MM   / DD   / YYYY



 5. Do you know if anyone                    No
    else has filed a proof of                Yes. Who made the earlier filing?
    claim for this claim?




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   Part 2:    Give Information About the Claim as of the Date the Case Was Filed

 6. Do you have any number         No
    you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?



 7. How much is the claim?           $                                         . Does this amount include interest or other charges?
                                                                                    No
                                                                                    Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                          charges required by Bankruptcy Rule 3001(c)(2)(A).


 8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                  Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                  Limit disclosing information that is entitled to privacy, such as health care information.




 9. Is all or part of the claim    No
    secured?                       Yes. The claim is secured by a lien on property.
                                             Nature of property:
                                                Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                                 Attachment (Official Form 410-A) with this Proof of Claim.
                                                Motor vehicle
                                                Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for example, a
                                             mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been filed or
                                             recorded.)



                                             Value of property:                               $
                                             Amount of the claim that is secured:             $

                                             Amount of the claim that is unsecured: $                                    (The sum of the secured and unsecured
                                                                                                                         amounts should match the amount in line 7.)



                                             Amount necessary to cure any default as of the date of the petition:                  $



                                             Annual Interest Rate (when case was filed)                   %
                                                Fixed
                                                Variable



 10. Is this claim based on a      No
     lease?
                                   Yes. Amount necessary to cure any default as of the date of the petition.                      $


 11. Is this claim subject to a    No
     right of setoff?
                                   Yes. Identify the property:




2 Official Form 410                                                     Proof of Claim
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  12. Is all or part of the claim             No
      entitled to priority under
      11 U.S.C. § 507(a)?                     Yes. Check one:                                                                                                       Amount entitled to priority

      A claim may be partly                        Domestic support obligations (including alimony and child support) under 11
      priority and partly                          U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                             $
      nonpriority. For example,
      in some categories, the law                  Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
      limits the amount entitled                   personal, family, or household use. 11 U.S.C. § 507(a)(7).                                                      $
      to priority.
                                                   Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                                   bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                               $
                                                   11 U.S.C. § 507(a)(4).
                                                   Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                           $

                                                   Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                               $

                                                   Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies.                                                $

                                              * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



   Part 3:     Sign Below

   The person completing              Check the appropriate box:
   this proof of claim must
   sign and date it.                     I am the creditor.
   FRBP 9011(b).
                                         I am the creditor’s attorney or authorized agent.
   If you file this claim                I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004. I am a
   electronically, FRBP
   5005(a)(2) authorizes courts to       guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
   establish local rules specifying
   what a signature is.
                                      I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of
   A person who files a               the claim, the creditor gave the debtor credit for any payments received toward the debt.
   fraudulent claim could be
   fined up to $500,000,              I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and
   imprisoned for up to 5             correct.
   years, or both.
   18 U.S.C. §§ 152, 157, and
   3571.                              I declare under penalty of perjury that the foregoing is true and correct.

                                      Executed on date
                                                                 MM / DD / YYYY




                                              Signature

                                      Print the name of the person who is completing and signing this claim:


                                      Name
                                                               First name                               Middle name                                Last name

                                      Title

                                      Company
                                                               Identify the corporate servicer as the company if the authorized agent is a servicer.



                                      Address
                                                               Number              Street


                                                               City                                                                State           ZIP Code

                                      Contact phone                                                                                Email




3 Official Form 410                                                                 Proof of Claim
